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                    Exhibit 1-//
          Evidence Packet in Support of Defendant’s Motions for Summary Judgment


           U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                                     Exhibit 1LL
                                                       White Decl. ISO Disney's SJ Motion P.0712
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